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                       1
                           Benjamin M. Gipson (CA SBN: 222830)
                       2   ben.gipson@us.dlapiper.com
                           Hector E. Corea (CA SBN: 318971)
                       3   hector.corea@us.dlapiper.com
                           DLA PIPER LLP
                       4   2000 Avenue of the Stars, Suite 400 North Tower
                           Los Angeles, California 90067-4704
                       5   Tel: 310.595.3022
                           Fax: 310.595.3300
                       6
                       7
                           Attorneys for Plaintiff
                       8   ALATUS AEROSYSTEMS, a
                           California Corporation
                       9
                      10                          UNITED STATES DISTRICT COURT
                      11                        CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   ALATUS AEROSYSTEMS, a                  CASE NO. 19-cv-1869
                           California corporation,
                      14                                           DECLARATION OF SCOTT
                                          Plaintiff,               HOLLAND IN SUPPORT OF
                      15                                           PLAINTIFF’S APPLICATION FOR
                                  v.                               TEMPORARY RESTRAINING
                      16                                           ORDER AND ORDER TO SHOW
                           MARIO VELAZQUEZ, an individual,         CAUSE WHY A PRELIMINARY
                      17   and DOES 1 through 50, inclusive        INJUNCTION SHOULD NOT
                                                                   ISSUE
                      18
                                          Defendants.              Date: To Be Determined
                      19                                           Time: To Be Determined
                                                                   Courtroom: To Be Determined
                      20                                           Judge: To Be Determined
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                   1          I, Scott Holland, declare as follows:
                   2          1.    I am the Chief Executive Officer ("CEO") and Sole Board Member of
                   3   Alatus Aerosystems, a California corporation ("Alatus"). The matters stated below
                   4   are true and of my own personal knowledge, and if called as a witness, I could and
                   5   would competently testify to the same.
                   6          2.    I began my role as CEO of Alatus on August 22, 2018 and have served
                   7   as Board Member of Alatus since August 22, 2018. As the CEO, I am responsible
                   8   for overseeing the daily operations of Alatus. This includes making major corporate
                   9   decisions, managing the overall operations and resources of the company, and
                  10   serving as the public face of the company. I am also tasked with supervising the
                  11   Alatus management team and their respective departments.
                  12    I.    Alatus' Business
                  13          3.    Alatus is a longstanding California business that assembles,
                  14   manufactures, and supplies parts and products for use in the aerospace and defense
                  15   industries. With more than 50 years of experience serving clients across the state and
                  16   nation, Alatus has earned a reputation as a leading provider of aviation components
                  17   and systems. Alatus has four locations in Southern California including the City of
                  18   Industry, Chatsworth, Walnut, and Brea.
                  19          4.     Alatus specializes in manufacturing wings, landing gear, and engine
                  20   pylons for commercial and military clients. Alatus' reputation has also attracted the
                  21   attention of numerous defense contractors and the United States Government. Alatus
                  22   assembles and supplies key military products, including aviation and artillery
                  23   systems used by the nation's armed services.
                  24          5.    As a defense contractor, Alatus is subject to the International Traffic in
                  25   Arms Regulations ("ITAR"). ITAR controls the manufacture, sale, and distribution
                  26   of defense-related products, services, and information. Alatus invests great resources
                  27   to maintain compliance with ITAR and ensure all information entrusted to Alatus by
                  28   its partners and customers is kept in strict confidence.
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                   1    II.    Mr. Velazquez's Departure and Misappropriation of Trade Secrets
                   2            6.   Mr. Mario Velazquez was employed with Alatus from June 2014 until
                   3   February 2019. There are strong indications that Defendant Velazquez knew that his
                   4   position was going to be eliminated and contemplated working for a competitor
                   5   and/or starting a competing business with a former Alatus executive, Richard Oak.
                   6   Defendant Velazquez and Mr. Oak were close associates prior to their termination,
                   7   and upon information and belief, are currently working on a joint business venture
                   8   competitive with Alatus' business.
                   9           7.    Aftgr the termination of Mr. Velazquez's employment, Alatus engaged
                  10   counsel to investigate whether Mr. Velazquez complied with his employment
                  11   obligations leading up to his exit from the company. Counsel subsequently informed
                  12   Alatus that Mr. Velazquez had purposely emailed at least ten sensitive company
                  13   documents containing Alatus' trade secrets to his personal email address within a day
                  14   of his termination.
                  15           8.    Prompted by Alatus' subsequent demand to return these documents,
                  16   Mr. Velazquez returned some of the sensitive documents. He falsely represented that
                  17   he had returned all of Alatus' information. Mr. Velazquez continues to possess at
                  18   least two of Alatus' key documents—a Global Asset List, and "Special" spreadsheet.
                  19           9.    These two documents contain Alatus' most coveted business secrets.
                  20   The Global Asset List contains confidential and proprietary information relating to
                  21   each of Alatus' machining assets, including their operating system, and capacity. The
                  22   "Special" spreadsheet has a complete compilation of Alatus' customers, a list of the
                  23   parts and products ordered by those customers, and Alatus' competitive pricing for
                  24   those orders. Defendant also has in his possession Alatus' product specifications
                  25   information setting out the raw materials required for the manufacturing of the
                  26   products.
                  27   //
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                   1   III.     Alatus' Reasonable Efforts to Guard its Trade Secrets
                   2            10.      Alatus has extensive safeguards in place to secure its proprietary
                   3   information. To start, also Alatus has physical security restrictions in place at all of
                   4   its facilities.     Alatus' offices and manufacturing facilities are secured by gates
                   5   limiting access to its employees and consultants and require admittance by a security
                   6   guard or company issued ID card. Alatus, in accordance with ITAR requirements,
                   7   also mandates that visitors verify their identity and security risk through a visual
                   8   compliance system as a condition of entering Alatus' manufacturing facilities.
                   9            11.      Alatus also has digital security restrictions in place. Alatus has a policy
                  10   of limiting access to its proprietary information to employees or contractors on a strict
                  11   need-to-know basis. Alatus requires all employees to sign confidentiality agreements.
                  12   Alatus information is stored in a digital drive, through which access to confidential
                  13   information is limited to only the employees to which access is granted.
                  14            12.      In addition, in order to access the Alatus digital drive, one must log in
                  15   through an Alatus computer and the unique, Alatus-issued username and password
                  16   which is changed every 90 days. Employees may only access this drive through an
                  17   Alatus issued computer. In addition, should an employee need to work remotely, the
                  18   employee may only do so through the secured Virtual Private Network ("VPN") on
                  19   a computer that is provided to the employee by Alatus.
                  20            13.      To the extent Alatus' confidential information was shared with Mario
                  21   Velazquez, he was granted limited, but executive level access to proprietary and
                  22   confidential information. For instance, Mario Velazquez was granted access to the
                  23   "Industry," "Walnut," "Chatsworth Public," and "Brea" drives on the Alatus digital
                  24   drive.
                  25            14.   However, Mr. Velazquez was only granted access to certain folders
                  26   within those drives; for example, he could not access the "Human Resources" folder.
                  27   Mr. Velazquez's access was significantly greater than most Alatus employees, but all
                  28   access to which Mario Velazquez was granted was on a need-to-know basis.
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                   1   IV.     Alatus Faces Imminent Harm if Its Trade Secrets are not Returned
                   2           15.    Mr. Velazquez's misappropriation risks irreversible injury to Alatus
                   3   because the disclosure of Alatus' trade secrets would compromise its competitive
                   4   position in the marketplace. First, Alatus' stands to lose its competitive market
                   5   position to Mr. Velazquez and any of his associates because they can use Alatus'
                   6   trade secrets to gain an unfair head start in pricing and material specifications.
                   7           16.    Even worse, the potential disclosure of Alatus' trade secrets to third
                   8   parties risks irrevocable damage to the company's business interests. Such disclosure
                   9   risks the loss of ,Alatus' hard-earned goodwill if its clients had the impression that
                  10   their product orders and purchases were leaked to market competitors. Whether or
                  11   not Mr. Velazquez actually has done that, the mere perception that he did would harm
                  12   our reputation and customer relationships.
                  13          17.     Potential customers would also be unwilling to conduct business with a
                  14   contractor like Alatus that is perceived to have mismanaged confidential customer
                  15   information.     The only way to protect Alatus' business and reputation is to enjoin
                  16   Defendant Vazquez from using or disclosing Alatus' proprietary information.
                  17          I declare under penalty of perjury under the laws of the United States of
                  18   America that the above is true and correct, and that this was executed on
                  19   September          , 2019, at City of Industry, Californ
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                  22                                                          OLLAND
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